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                   IN THE DISTRICT COURT OF THE UNITED STATED                              JAN   1 0 P025
                      FOR THE EASTERN DISTRICT OF VIRGINIA    ,
                                      Norfolk Division                             CLERK, U.     r-srp.icr COURT
                                                                                            MC)R ‘-OLK. VA


          UNITED STATES OF AMERICA )
                                   )
             V.                    )
                                   )                       Case No. 2:25mjl
         DOMINIC NATHANIEL TORRES, )
                                   )
              Defendant.           )


                                          ORDER


         This matter came before the Court on the defendant's motion to substitute counsel


   due to the defendant having retained Attorney Brian Latuga to represent him in this

   matter. Accordingly, for good cause shown, it is hereby ORDERED that the defendant's

   motion to substitute counsel is GRANTED. Amanda C. Conner and the Office of the


   Federal Public Defender is relieved as counsel. Brian     Latuga is hereby substituted as

   counsel.


         IT IS SO ORDERED.

                                                         Robert Jr Krask
                                                         United States. Magi-strateJudge
                                                 United States Magistrate Judge

   Date: January /^ . 2025
         Norfolk, Virginia
